                Case 8-19-08028-las                 Doc 12          Filed 04/18/19      Entered 04/18/19 10:05:50


                                      UNITED STATES BANKRUPTCY COURT
                                           Eastern District of New York
                                      NOTE: All documents filed in this matter must be identified by both
                                   adversary and bankruptcy case numbers, case chapter and judge's initials.

In re: Zoltan Karoly Kovacs                                                                  Bankruptcy Case No.: 8−18−75875−las

30 Thompson AW Holdings, LLC
9 Minetta AW Holdings, LLC
                                                                    Plaintiff(s),
−against−                                                                               Adversary Proceeding No. 8−19−08028−las
Zoltan Karoly Kovacs
                                                                    Defendant(s)

                 SUPPLEMENTAL SUMMONS IN AN ADVERSARY PROCEEDING


YOU ARE SUMMONED and required to submit a motion or answer to the complaint, which is attached to this
summons, to the Clerk of the Bankruptcy Court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days.

Address of Clerk:
                                                        United States Bankruptcy Court
                                                        290 Federal Plaza
                                                        Central Islip, NY 11722
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

Name and Address of Plaintiff's Attorney:
                                                                            Michael J Macco
                                                                            Macco Law Group, LLP
                                                                            2950 Express Drive South
                                                                            Suite 109
                                                                            Islandia, NY 11749

If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT, AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.




Dated: April 18, 2019                                                Robert A. Gavin, Jr., Clerk of the Court




Summons (AST)[Summons in an Adversary Proceeding rev. 05/27/2016]
